                           UNITED STATES BANKRUPTY COURT
                           FOR THE DISTRICT OF NEW MEXICO



IN RE:                                                               Chapter 11

LAS UVAS VALLEY DAIRIES,                                             Case No. 17-12356-J11
dba LAS UVAS VALLEY DAIRY,
      Debtor.

      SUPPLEMENTAL AFFIDAVIT IN SUPPORT OF AMENDED MOTION FOR
                      ADMINISTRATIVE EXPENSE

       David and Guadalupe Ramos, d/b/a Ramos Farms (hereinafter referred to as “Ramos

Farms”), by and through its undersigned attorney, hereby files the attached Affidavit of David

Ramos attached as Exhibit 1 hereto in support of their Amended Motion for Administrative

Expense filed on November 7, 2017 as docket #94.

                                                     /s/ R. “Trey” Arvizu, III
                                                     R. “Trey” Arvizu, III
                                                     Attorney for Ramos Farms
                                                     PO Box 1479
                                                     Las Cruces, NM 88004
                                                     Phone: 575-527-8600
                                                     trey@arvizulaw.com

        I CERTIFY that the foregoing was electronically filed with the Court via the CM/ECF
system. All attorneys and parties identified with the Court for electronic service on the record in
this case were served by electronic service in accordance with the CM/ECF system on this 14th
day of June 2018.

Electronically submitted
R. "Trey" Arvizu, III




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